                    Case 4:23-cv-04155-YGR            Document 489           Filed 07/08/25       Page 1 of 13

TRULINCS 20446009 - FLEMING, RHONDA ANN - Unit: CRW-I-N


FROM:20446009                                                                                      PlIEDy
TO: Jd, Jd                                                                          ~.o                           ^
SUBJECT: LETTER TO THE DISTRICT CLERK                                   C,
DATE: 06/30/2025 09:46:20 AM                                          ^OrtS^^ S. o/std, -           JUL -^LU^
                                                                                      Of                /
RE: FILING OF MOTION FOR DISQUALIFICATION OF COUNSEL                                  °Tf/cf                DISTRICT COURT ^
    CCWP V. United States, No^3-cv-4155-YGR                                                                    OFFICE

Dear Clerk:


I am enclosing a Motion to Disqualify Counsel. This Motion was mailed on June 17, 2025, but as of June 29, 2025, your office
has not filed it.


Myself and other Class Members do not know if the prison did mail this, bad service, or it has not been filed by your office.

My family checks PACER weekly, as you can see below, and the documents have not been filed.

Upon receipt of this letter, please email me at: RFIemingLHHW@emailinterface.org          to verify that this Motion has been
received.


We will be filing a similar pleading with the District of Columbia and the appellate court for that district. The Class Members who
have submitted Declarations believe all of the judges should be aware of the professional misconduct of Rosen, Bien, Galvan,
& Grunfeld.


Irrespective of political beliefs of all parties, the simultaneous representation of the biological women Class Members and
biological male inmates, in Doe v. McHenry, No. 1:25-cv-286-RCL. District of Columbia is obviously in violation of ethics rules of
state bars all over the United States.


Respectfully,


Rhonda Fleming
Class Member


cc: Clerk of DC Court of Appeals
    Clerk of District of Columbia
    file


    Jd, Jd on 6/29/2025 11:G6 AM wrote:




Date Filed          #     Docket Text
04/17/2025          479   MOTION Enforcement of Consent Decree Regarding Community Placement. Responses due by
5/1/2025. Replies due by 5/8/2025.(Attachments: # 1 Envelope)(exl, COURT STAFF)(Filed on 4/17/2025)(Entered:
04/17/2025)
04/22/2025          480   MOTION for Temporary Restraining Order,(exi, COURT STAFF)(Filed on 4/22/2025)(Entered:
04/23/2025)
05/01/2025     481    OPPOSITION/RESPONSE (re 480 MOTION for Temporary Restraining Order,479 MOTION
Enforcement of Consent Decree )filed byUnited States of America Federal Bureau of Prisons, United States of America..
(Mattioli, Madison)(Filed on 5/1/2025)(Entered: 05/01/2025)
05/05/2025          482   NOTICE of Withdrawal filed by Miriam Rose Nemeth, no longer appearing on behalf of California
Coalition for Women Prisoners, R. B., A. H. R., S. L., J. L., J. M., G. M., A. S., L. T. in this case (Nemeth, Miriam)(Filed on
5/5/2025)(Entered: 05/05/2025)
05/05/2025          483   ORDER DENYING REQUESTS TO ENFORCE CONSENT DECREE; ORDER RE: FILING FURTHER
REQUESTS ON THE DOCKET by Judge Yvonne Gonzalez Rogers Denying 479 Motion; Denying 480 Motion for TRO.(eac,
COURT STAFF)(Filed on 5/5/2025)
Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic
Filing (NEF)
    Case 4:23-cv-04155-YGR     Document 489      Filed 07/08/25   Page 2 of 13




UNITED STATES DISTRICT COURT
NORTHERN DISTRICI OF CALIFORNIA


CALIFORiWA COALITION FOR WOMEi\i PRISONERS,
   Plaintiff,

RHONDA FLEMING,
   Class Member,


                                    No. 23-CV-4155-TGR


UNITED STATES OF AMERICA,
   Defendant.


CLASS MEMBER'S MOTION FOR DISQUALIFICATION OF COUNSEL

CLASS MEiMBER'S MOIION FOR EVIDENTIARY HEARING

CLASS MEMBER'S MOTION FOR REFERRAL TO CALIFORNIA STATE BAR


California Rule of Professional Conduct 1.7 "prohibits the concurrent
representation of clients in certain circumstances without the informed
iitritten consent of each client." Gona; v. RFG Oil, Inc., 166 Cal. Add. 4th
209, 82 Cal Rptr. 3d 416 420 (Cal. Ct7 App. 2008).
The rule provides, in relevant part, that "a lavTyer shall not, without
informed consent from, each client..., represent a client if the
representation is directly adverse to another client in the same or a
separate matter." Cal. Rules of Pro. Conduct r. 1.7(a).
In the present case, Rosen, Bien, GaTvan,     Grunfeld and other attorneys
representing the Class Member, Rhonda Fleming and other women, are
vigorously litigating against the interests of the Class Members.
RBGG and other attorneys on the present case, are also representing
biological mala inmates, who allege they are women, fighting to keep these
men in the sho'wers and other intimate areas with Class Members v.'ho are
victims of sexual abuse.

\7nen this situation v/as reported to Special Monitor Wendy Still and her
te^, they ware in shock. Numerous women who have been sexually abused in
prison ana/or in the community expressed their fear, anger, and disbelief
that V70men were being forced to shov/er with male inmates.
Most of these men are sex offenders. The Class Member, Rhonda Fleming, has
at least two convicted sex offenders sleeping 15 feet away from her. ^Other
    Case 4:23-cv-04155-YGR   Document 489    Filed 07/08/25    Page 3 of 13



male inmates are murderers of women or rapist, such as William McClain,
who is in custody at FMC-Carswell.

Tine matter of biological males in women's prisons was not addressed in this
case. For the entire time the Class Member v/as in custody at FCI-Dublin,
there were no biological male inmates at the prison.

At this time, the Class Member is at a women's federal prison, Carswell,
"v7ith 16-18 men. women are stalked and bullied by these men. RBGG is
representing a white supremacist, Peter Kevin Langan, who is also a violent
criminal.

All of the attorneys representing the Class Member is av/are she has been
one of the leading activist to remove men out of vzomen's prisons. See,
Rhonda Fleming v. Warden Erica Strong, No. 20-cv-325, Northern District of
Florida. The Class Member is supported by Women's Liberation Front,
Independent Women's Forum, Keep Prisons Single Sex, and numerous other
groups v/ho seek to protect women's intimate spaces.

For the reasons stated, it is appropriate to grant the following Motions:

MOTION FOR DISQUALIFICAriON OF COUNSEL & EVIDENTIARY HEARING

All attorneys assigned to this case 'who are involved in the litigation in
Doe V. McHenry, No. 1:25-cv-286-RCL, District of Columbia, should be
disqualified, immediately.

Women Class Members are without counsel due to the loyalty the attorneys
have to the cause of keeping biological male sex offenders in the showers
with the Class Members, v;ho are victims of sexual abuse by MENiil Anyone
v;ho has heard that RBGG and other attorneys are concurrently representing
women who are sex abuse victims AND biological male inmates who are sex
offenders have stated this is a clear conflict of interest, even if the
present Class Member was not a leading activist against this policy.
 The primary value at stake in cases of simultaneous or dual representation
is the attorney's duty-and the client's legitimate expectation-of loyalty,
rather than confidentiality." Flatt v. Superior Ct.,'9 Cal. 4th 275, 36
Cal. Rptr. 2d 537 (Cal. 1994). "The reaons for the rule is evident, even
(or perhaps especially) to the nonattorney      Id. "A client who learns
that his or her la\i;yer is representing a litigation adversary, even with
respect to a matter wholly unrelated..., cannot long be expected to sustain
the level of confidence and trust in counsel that is one of the foundations
of the professional relationship." Id.
Tnis has occurred in the case. Women v/no have expressed their fear and
disgust on this matter have been rebuffed by attorneys on the present case.
The Class Members have no one to voice their concerns to.     Please see the
Declarations by sev^al Class Members who have to shov/er daily with male
inmales. Exhibit- /r    to   M- , Declarations by Class Members.




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       Case 4:23-cv-04155-YGR   Document 489    Filed 07/08/25   Page 4 of 13




Simultaneous representation of clients with conflicting interests (and
without written informed consent) is an automatic ethics violation in
California and grounds for disqualifiction. Flatt at 955.
Even worse, REGG's male clients have heckled and made fun of the Class
Members, acknov/ledging that the women had been abandoned by Kara Janssen
and other attorneys "with the firm.
Hi i
 Under California law, attorneys owe current clients a duty of undrvided
loyalty." Emblaze Ltd. v. Microsoft Corp., No. 12-cv-05422-JST (N.D. Cal.
May 30, 2014). At this time, their is no loyalty to biological women Class
Members, who are sex abuse victims. There is no understanding that women
who have been sexually abused do not want to be viewed naked by biological
male inmates, regularly exposing their private parts to women in the
prison.

All attorneys involved in litigation to keep men in women's prisons should
be disqualified from the present case. If disqualification is not
automatic, then an evidentiary hearing should be granted to allov/ the
numerous Class Members and the Special Monitor to testify about the
conditions at EMC-Carsvvell and ho"w showering with male iamates has ca'used
severe emotional distress.

MOnON FOR REFERRAL 10 THE CALIFORl^A STATE BAR

''The most eg'regious conflict of interest is representation of clients v/hose
intersts are directly adverse..." Flatt at 288. The Court must exercise
its inherent power in furtherance of justice in part to protect the duties
like loyalty, and to avoid the appearance of impropriety.
Rule 1.7 has been violated.     A referral to the California State Bar is
appropriate.

CONCLUSION

The Class Member and other women have been without the loyalty of counsel
since January 2025. The present Class Member and others fully intend to
sue RBGG and others v/ho litigated against our interests. Our interests
were disregarded in the same manner as the FBOP employees 'who abused the
Class Members at FCI-Dublin.

No matter where the Court or anyone else falls on the political aspects of
trans people, loyalty for clients should prevail.
Resp^tfully Submitted,
        71

Rhonda Fleming
Class Member
June 16, 2025
FMC-Cars'well
Reg. No. 20446-009
PO Box 27137
Fort Worth, Texas 76127


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   Case 4:23-cv-04155-YGR   Document 489    Filed 07/08/25   Page 5 of 13




CERTIFICATE OF SERVICE



Service is performed by the electronic tiling of this Motion by the U.S.
District Clerk.



Rhonda Fleming
Class Member
        Case 4:23-cv-04155-YGR          Document 489    Filed 07/08/25   Page 6 of 13



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  -n£..a__, ,..j.i:, i   .naie oitxcer, co mepresent, too. To be watching a nai^ied
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  Lorcaci co wauch a naked man, or loss iny job assigninent,                   ^
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                          ^resident irump's executive order. I am aware of the
                               McHenry. but, this injunction does not allow the PihjJ-
      .OhCe women co watcn a nailed maru with a male officer present, too. "' '
 x^was mortUiad, disgusted, embarrassed, and afraici. i kept thioi-mno rha-
 '-1^^ sucxii liixgn!. aarm me once ne is released from suicide watch.
 Inis Deciaration is made pursuant to 28 USG Section 174S.


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     Case 4:23-cv-04155-YGR   Document 489     Filed 07/08/25   Page 7 of 13



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA



CALIFORi^IIA COALITION FOR WOMEN PRISONERS

V.                                NO. 23-CV--4155-YGR



UNITED STATES OF AMERICA



DECLARATION PURSUANT TO 28 USC SECTION 1745

BY K\PaOo\€ fen in                       # F)9Aq[o5-v0^i
I,                                      J certify under penalty of perjury
that the foilov/ing statements are true and correct to the best of my
knowledge. If called to testify, under oath, my statements v.'ould be as
follows:



1. When visited by the Special Monitor and her team, I expressed my fear,
emotional distress, and disgust for showering v/ith biological male inmates.

2. We are abandoned by our attorneys, when visited by our attorneys, none
of them wanted to discuss the fact-that male inmates are causing women
Class Members amotional distress.

3. These men are sexual deviants. They are routinely caught in the
showers and bathrooms having sex v?ith women in the prison. It is
disgusting and a violation of PREA, but the present v/arden has taken no
action to stop this sexual misconduct. ITien women are caught v/ith other
biological women having sex, they are sent to the SHU, immediately. The
man are given extra duty, if anything.

4. If any Class Member goes to the SHU, she is subjected to being locked
in a cell with a male inmate.     One male inmate assaulted a v/oman and was
put in the SHU with biological women, against their wishes.

5. Most of these men are serving prison sentences for sexual offenses
and/or violence. I am in fear of being raped and/or assaulted when the
lights are off in the prison housing units.

6. I want Rosen, Bien, Galvan & Grunfeld and any other attorney involved
in keeping men in women's prisons to be disqualified from this case.
7. I have been personally harmed by the disloyalty of vromen attorneys who
do not have to undress in the presence of male inmates, many of whom still
have their private parts.



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        Case 4:23-cv-04155-YGR      Document 489      Filed 07/08/25   Page 8 of 13

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA


CALIFORr^iA COALrnOW FOR WOMEN PRISONERS

                                         NO. 23-CV--4155-YGR


UNITED STATES OF AMERICA



DECLARATION PURSUANT TO 28 USC SECITON 1746

BY iRa.i'T'l-ta-        ''^0/3//TSO-^'         #

^.5 1              ^1                         j certify under penalty of perjury
that the follov;ing statements are true and correct to the best of my
knov;iedge. If called to testify, under oath, mv statements "would be as
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     Case 4:23-cv-04155-YGR      Document 489     Filed 07/08/25   Page 9 of 13



UNITED STATES DISTRICI' COURT-
NORTHERN DISTRICT Of CALIFORNIA



CALIFORi^IIA COALinON FOR WOMEN PRISONERS

V.                                 NO. 23-CV-4155-YGR



UNITED Sl'ATES OF /\MERICA



DECLARATION PURSUANT TO 28 USC SECIION 1746

BY /^MV                                          ^
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     Case 4:23-cv-04155-YGR     Document 489   Filed 07/08/25   Page 10 of 13



Uis'ITED STATES DISTRICT COURT-
NORTHERN DISTRICT OF CALIFORNIA



CALIFORi^iiA COALTTTON FOR WOMEN PRISONERS

V.                                 NO. 23-CV-4155-YGR


UNITED STATES OF AMERICA



DECLARATION PURSUANT TO 28 USC SECTION 174S




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      Case 4:23-cv-04155-YGR   Document 489      Filed 07/08/25      Page 11 of 13


  UNITED STATES DISTRICI COURT-
  NORTHERN DISTRICT OF CALIFORNIA

  ^oALIi? ORillA COALITION FOR WOMEN PRISONERS

  ^                                      23-CV-4155-YGR
  UNITED STATES OF .AMERICA

  DECLAR.ATION PURSUANT TO 28 USC SECTION 1746



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     Case 4:23-cv-04155-YGR   Document 489    Filed 07/08/25   Page 12 of 13


UNITED STATES DISTRICI' COURT-
NORTHERN DISTRICT OF CALIFORNIA



CALIFORillA COALIITON FOR WOMEN PRISONERS

V.                                NO. 23-CV-4155-YGR


UNITED SI'ATES OF AMERICA



DECLAR-ATION PUR^NT TO 28 USC SECTION 1745
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     Case 4:23-cv-04155-YGR       Document 489        Filed 07/08/25   Page 13 of 13


Uis'ITED STATES DISTRICI' COURT
NORTHERi<i DISTRICT OF CALIFORNIA


CALIFORiliA COALITION FOR WOMEN PRISONERS

V.                                   NO. 23-CV-4155-YGR


UNITED STATES OF AMERICA



DECLARAITON PURSUANT
            i. Wi\^ur\LVX TO
                          iW 28 USC
                                UiJAj SECTION 1746
                                              JL/^O




BY    Pi'~f^Cl i[g -H^mnnr)-p.2^ # nQ17.'^rQ^7S~
       ,             He                      certify under penalty of perjury
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